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Case 2:03-cr-20341-SH|\/| Document 46 Filed 05/18/05 Page 1 of 2 Page|D 6E7g

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Westem District of Tennessee

UNITED STATES OF AMERICA

v. Case Number Z:UBCRZOS¢H-Ol-Ma

CHARLES JORDAN

JUDGMENT AND COMMITMENT ORDER
ON REVOCATION OF SUPERVISED RELEASE

(For Off`enses Committed On ur After Nov amber l, 1987)

The defendant, Charles .lordan, was represented by Ms. Doris Holt.

lt appearing that the defendant, Who was sentenced by the Hon. Neal B. Biggers, Jr., U.S.
District Court, Oxford, Mississippi, on March 7, 1997, and placed on supervised release for a
period of five (5) years, has violated the terms of his supervision, it is hereby ORDERED and
AD.IUDGED that defendant’s supervised release be revoked and that defendant be committed
to the custody of the United States Bureau of Prisons to be imprisoned for a term of nine (9)
months,

The Court recommends defendant participate in a drug abuse treatment programs

The Court recommends defendant be designated to serve his term of imprisonment at a
facility closest to Memphis, Tennessee.

The defendant shall report to the U.S. Marshal, 167 N. Main Street, 10"‘ Floor,
Federal Building, Memphis, Tennessee, no later than 4:00 p.m. 011 Tuesday, June 7, 2005.

Signed this l 8 H\ day of May, 2005.

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SAMUEL H. MAYS, JR.
United States District Judge

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Doris A. Randle-Holt

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Honorable Samuel Mays
US DlSTRlCT COURT

